976 F.2d 738
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Albaro CANO, Defendant-Appellant.
    No. 91-50621.
    United States Court of Appeals, Ninth Circuit.
    Sept. 21, 1992.
    
      Before FARRIS, DAVID R. THOMPSON and FERNANDEZ, Circuit Judges.
    
    ORDER
    
      1
      Appellant, Albara Cano, is a fugitive.
    
    
      2
      Therefore, his appeal is hereby DISMISSED.
    
    